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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

 UNITED STATES OF AMERICA,

                       Plaintiff,
 vs.                                                             No. 25-cr-00139 DHU/KBM

 RICARDO MENDEZ,

                       Defendant.

                       ORDER PERMITTING INTERNATIONAL TRAVEL
       THIS MATTER is before the Court on the defendant’s “Unopposed Motion to Allow an

International Travel Trip.” (Doc. 11) Having considered the motion and noting that the United

States Government consents to the request, the defendant’s motion to travel internationally on the

dates requested is hereby GRANTED.

       IT SO ORDERED.


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                                                            Magistrate Judge Karen B. Molzen
